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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE


 In Re:                                           Chapter 11
W.R. Grace & Co., et al.,
                                                  Case No.01-01139 (JKF)
                  Debtors.                        (Jointly Administered)



   ORDER GRANTING MOTION OF STATE OF NEW JERSEY, DEPARTMENT OF
ENVIRONMENTAL PROTECTION, FOR LEAVE TO FILE A LATE PROOF OF CLAIM


            This matter having been opened to the Court by Stuart

Rabner, Attorney General of New Jersey, by Rachel Jeanne Lehr,

Deputy Attorney General appearing, attorney for movant State of New

Jersey, Department of Environmental Protection (“Department” or

“State”), and the Court having considered the Brief submitted in

support herein;     the oral argument of counsel; and for good cause

shown;

     IT IS on this            day of May      ,         ;

     ORDERED that pursuant to Fed. R. Bankr. P. 9006(b)(1) the

State of New Jersey, Department of Environmental Protection, is

hereby granted leave to file its Proof of Claim; and

     IT IS FURTHER ORDERED that within five days of this date, the

movant’s attorney shall serve all counsel of record with a true and

correct copy of this Order.



                                   _____________________________
                                    Judith K. Fitzgerald
                                    United States Bankruptcy Judge
